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        1                    UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
        2                         LEXINGTON DIVISION

        3 MODERN HOLDINGS, LLC,           . Docket No. CV 13-405
             AND GAY BOWEN,               .
        4                                 .
               Plaintiffs,                . Lexington, Kentucky
        5                                 . December 6, 2013
                  v.                      . 1:30 p.m.
        6                                 .
          CORNING, INC.,                  . TRO Hearing
        7                                 .
          ROYAL PHILIPS ELECTRONICS,      .
        8 N.V. KONINKLIJKE AND            .
          PHILIPS ELECTRONICS NORTH       .
        9 AMERICA CORPORATION,            .
                                          .
       10       Defendants.               .
          . . . . . . . . . . . . . . . .
       11
                          TRANSCRIPT OF PROCEEDINGS
       12      BEFORE THE HONORABLE GREGORY F. VAN TATENHOVE
                        UNITED STATES DISTRICT JUDGE
       13
          APPEARANCES:
       14
          For the Plaintiffs: Mr. Richard A. Getty and Ms.
       15                           Jessica Katherine Winters
                                The Getty Law Group
       16                       250 West Main Street
                                1900 Lexington Financial Center
       17                       Lexington, KY 40507

       18 For the Defendant:           Messrs. M. Stephen Pitt, George
          Corning, Inc.                   L. Seay, Jr., and George
       19                                 J. Miller
                                       Wyatt, Tarrant & Combs LLP -
       20                                 Lexington
                                       250 W. Main St.
       21                              Suite 1600
                                       Lexington, KY 40507
       22
            Royal Philips              Mr. David Andrew Owen
       23                              Bingham Greenebaum Doll, LLP
                                       300 W. Vine Street, Suite 1100
       24                              Lexington, KY 40507

       25
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        1 APPEARANCES (CONTINUED):

        2 Court Reporter:              K. Ann Banta, RPR, CRR
                                       101 Barr
        3                              Lexington, KY 40507
                                       (502) 545-1090
        4
          Proceedings recorded by mechanical stenography,
        5 transcript produced by computer-aided transcription.

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        1                                Friday afternoon session,

        2                                December 6, 2013, 1:30 p.m.

        3                                   - - -

        4              THE COURT:      Thank you, sir.         Madam (sic)

        5 Clerk, would you call the pending case, please.

        6              THE CLERK:      Yes, Your Honor, Lexington civil

        7 action no. 13-405, Modern Holdings and others v.

        8 Corning, Inc., and others, called for hearing on the

        9 motion for TRO.

       10              THE COURT:      Thank you.       Counsel, would you

       11 state your appearances, please.

       12              MR. GETTY:      Good afternoon, Your Honor,

       13 Richard A. Getty and Jessica K. Winters on behalf of

       14 plaintiffs.

       15              THE COURT:      Mr. Getty, Miss Winters, good

       16 afternoon.

       17              MR. PITT:      Good afternoon, Your Honor, I am

       18 Steve Pitt here on behalf of the defendant Corning,

       19 Inc., and with me are my partners George Seay and

       20 George Miller.

       21              THE COURT:      Mr. Seay, Mr. Miller, Mr. Pitt,

       22 nice to have you here as well, sir.

       23              MR. OWEN:      Judge, David Owen here on behalf

       24 of the Philips defendants.

       25              They have been listed as Royal Philip
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        1 Electronics, N.V. Koninklijke in a pleading, so it is

        2 a couple of different entities.

        3              THE COURT:      Okay, thank you for appearing,

        4 Mr. Owen.

        5              This matter is called on my docket.               The

        6 plaintiff has filed a motion for injunctive relief or

        7 temporary restraining order and preliminary injunction

        8 initially in this case.

        9              In a rather remarkable turn of events I am

       10 the fourth judge to be on this case within days of a

       11 complaint being filed, and so it is now, having worked

       12 hard to try to find some reason to recuse and not

       13 finding any, I think I will be the judge presiding

       14 over this particular -- particular matter.

       15              The original TRO and preliminary injunction

       16 motion was not ruled on by my predecessors.

       17              There has now been an amended request for

       18 emergency relief.

       19              I understand the plaintiffs' arguments

       20 completely, and so I am going to turn to you first,

       21 Mr. Pitt, and I want to actually -- you have not had

       22 the chance to respond representing the defense of

       23 Corning.

       24              And I am pleased to hear from any of the

       25 other attorneys with the other defendants, but I
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        1 really want to direct some questions and also hear

        2 from you first, if I might.

        3              Let me just make sure that I understand kind

        4 of where this is, and I want to say a word about the

        5 procedural posture of this case.

        6              I really don't view this as a falling under

        7 the rubric of a temporary restraining order or

        8 preliminary injunction.

        9              If -- I think the parties would agree that if

       10 we were in a season of discovery, this really is more

       11 of a discovery or more of a dispute about access to

       12 property perhaps under Rule 34 or the request for a

       13 protective order in order to try to gain these

       14 samples.

       15              And I'll turn to you in a moment, Mr. Getty,

       16 please, thank you.

       17              And so that's really how I'm thinking about

       18 it, and so I am glad to note that's where the

       19 plaintiffs are.

       20              I am not thinking about this in the framework

       21 of our typical analysis and injunctive relief.

       22              I am thinking about this more as a discovery

       23 dispute, would commend the defense for kind of

       24 recognizing and cooperating as it relates initially in

       25 terms of some taking of some soil samples.
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        1              The relief being sought here is compensatory

        2 damages, punitive damages and some relief related to

        3 the medical -- alleged medical problems of what would

        4 be perhaps certified as a class at some point in the

        5 future.

        6              The relief being sought here is not the

        7 preservation of a smokestack or a mixing room, but

        8 those issues, factually, are predicate to the

        9 gathering of the samples.

       10              Now, I understand yesterday there was some

       11 sample gathering that took place, and as I understand

       12 it the dispute now is over whether or not the

       13 locations for the sample gathering that are

       14 appropriate to be made available were entirely made

       15 available, whether video footage and photographs

       16 should be allowed, whether cell phones should be

       17 allowed during the taking of the sampling and -- and

       18 again, as I say, whether all the areas that need to be

       19 sampled are -- are being made available.                  Am I up to

       20 speed now on this case?

       21              MR. PITT:      I think you are, Your Honor, with

       22 one exception.

       23              I don't believe there was actually any

       24 sampling done yesterday.

       25              THE COURT:      Okay.
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        1              MR. PITT:      I think this was more of a walk-

        2 around to review the facility there to see what

        3 sampling, when and where or where the plaintiffs

        4 wanted to take samples.

        5              THE COURT:      Okay.

        6              MR. PITT:      And that was all that was

        7 contemplated yesterday.

        8              And Your Honor, it -- things are -- we are

        9 catching them faster than we can string them here.

       10              We did file a response that I think came in

       11 about 1:05.        The court probably hasn't had an

       12 opportunity to look at it.

       13              I dictated it earlier this morning, got in my

       14 car and drove to Lexington and my partners saw that it

       15 got filed, so it's kind of like one step out of the

       16 Dictaphone; but we do have an extra copy if the court

       17 would like to look at it.

       18              THE COURT:      Okay, I have sent my law clerk

       19 for a copy, but if you have a copy --

       20              MR. PITT:      We have an extra copy and we have

       21 provided copies to the other parties, and I think they

       22 have seen it before they got here anyway.

       23              If I may provide a copy, or actually I have

       24 got a couple here if anyone else would -- would need a

       25 copy.
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        1              THE COURT:      Thank you.

        2              MR. PITT:      I really don't, Your Honor, think

        3 there is an emergency.

        4              I don't -- I think this is a discovery

        5 dispute that merely needs some massaging to get the

        6 parties to where they should reasonably be.

        7              THE COURT:      You concede that samples need to

        8 be taken.

        9              MR. PITT:      We concede that we are not sure

       10 that they do need to be taken, but we think it's

       11 been --

       12              THE COURT:      You have already agreed to allow

       13 it.

       14              MR. PITT:      We have agreed to allow it.            I

       15 think the plaintiffs are entitled to take them.

       16              I do think there has been a substantial -- my

       17 client, as the court knows by now, has not -- did not

       18 own and operate this plant for a thirty-year period

       19 from 1983 until now.           They still are not operating

       20 it.

       21              They are -- they bought the plant this year

       22 with the idea of completely renovating, gutting it,

       23 tearing down those smokestacks that the court has

       24 mentioned and the mix house there and getting a lot of

       25 that stuff off site and renovating the plant because
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        1 they plan to hire 100, 200 people there within a year

        2 or so for some new manufacturing that will take place

        3 there so --

        4              THE COURT:      Okay.

        5              MR. PITT:      -- that has been ongoing since

        6 around October 1 for several weeks, the renovation

        7 work on the building there.

        8              THE COURT:      Is -- let me just interrupt you

        9 for a moment.

       10              Is there any work that would be considered

       11 remedial in which the company is being required to

       12 conduct because of a state agency, regulatory process

       13 or a federal regulatory process?

       14              MR. PITT:      No, Your Honor, not Corning.             Now,

       15 there is substantial remediation work as I understand

       16 it, and Mr. Owen can speak to that better than I on

       17 behalf of Philips.

       18              Philips has entered into an agreed order with

       19 the state environmental cabinet back in 1992, and

       20 there has been some supervision and interaction there

       21 for many years.

       22              And we understand there has been a lot of

       23 sampling and testing, state approved, state supervised

       24 testing and that there is remediation going on on the

       25 part of the former 32-acre plant site that Corning did
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       1 not buy.

       2              In other words, Corning, there were 32 acres,

       3 Philips retained a substantial amount of the acreage

       4 where there may have been some landfills, some former

       5 surface impoundments and that sort of thing, some out

       6 falls to remediate under the remedial action plan that

       7 the state approved and we understand that to be

       8 ongoing now.

       9              There is no state required or other required

      10 environmental remediation that Corning is going

      11 through now.

      12              This -- what Corning is doing in the building

      13 is not environmental remediation, it is renovation

      14 which includes cleaning the building.

      15              You know, you are going to clean grease, you

      16 are going to clean dirt, you are going to clean

      17 residue that's been there for who knows how long.

      18              THE COURT:      I suppose the plaintiff could say

      19 toxic chemicals that could harm plaintiffs.

      20              MR. PITT:      Of course there is no doubt about

      21 it in just about any manufacturing facility toxic

      22 chemicals are used, it's a question of how they are

      23 handled and what the dose is and the amount of the

      24 exposure.

      25              And of course in our case here, let me say
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       1 there is, as Your Honor is aware, a companion case

       2 that was filed by Mr. Getty on behalf of plaintiff

       3 named Elbert Cox, I believe, in which Corning has not

       4 been named.

       5              Philips -- the Philips entities have been

       6 named.

       7              THE COURT:      I am not aware of that case.

       8 What jurisdiction is that --

       9              MR. PITT:      It's been -- I think it's been

      10 assigned to Your Honor, if I am following the email

      11 traffic.

      12              Someone can correct me if I am wrong.                I

      13 do not have the case no. on the copy of the complaint

      14 I have got, but it is a --

      15              THE COURT:      Was it filed at the same time?

      16              MR. PITT:      I think so, the same day, Your

      17 Honor.

      18              MR. GETTY:      One number difference, one is 104

      19 and 105 or 105 and 106.

      20              MR. PITT:      That case is a purported class

      21 action by Elbert Cox and other former employees of

      22 Philips alleging that they were exposed over years of

      23 employment at the plant by Philips to toxic

      24 substances.

      25              And, you know, while one could imagine that
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       1 Philips might raise defenses such as Workers'

       2 Comp. and that sort of thing, that's for another day.

       3              Corning's not in that case, and the case that

       4 we are here on today is, as the court points out, a

       5 property damage case in which one local plaintiff

       6 purports to be a class representative for property

       7 owners within a five-mile radius of the plant and

       8 another plaintiff, a lady who lives in Florida who

       9 moved to Florida from Danville in the 1980s, claims

      10 that she was -- lived near the plant during the time

      11 that Corning and Philips both ran it and that she is

      12 -- she has multiple sclerosis as a part of -- as a

      13 reason and is a class -- appropriate class

      14 representative.

      15              THE COURT:      But what have you agreed to?

      16 There was an agreement here to allow something to

      17 occur yesterday, what was that agreement?

      18              MR. PITT:      We agreed, Your Honor -- we filed,

      19 as the court knows, our response to the original TRO

      20 motion on -- on Wednesday -- on Tuesday, I believe,

      21 the 3rd.

      22              The hearing, the scheduling hearing was set

      23 by Judge Reeves for the next morning, the 4th.

      24              And we didn't know if the TRO motion would be

      25 taken up or not.         We didn't know if Judge Reeves would
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       1 recuse himself or not.

       2              So we did file a response which we -- the

       3 court would be able to review from the file in which

       4 we have incorporated by reference today.

       5              But then when we got to court on -- on

       6 Wednesday morning and right before -- before the

       7 hearing and after the hearing with Judge Reeves, the

       8 parties consulted and we agreed on certain things.

       9              Back the day before Thanksgiving, when the

      10 lawsuit was filed and when the ex parte motion was

      11 filed, we found out about it and Mr. Getty and

      12 Mr. Miller were in contact, and that resulted in a --

      13 in a November 27 letter, Wednesday a week ago, from

      14 Mr. Getty to Mr. Miller setting out what they wanted

      15 to do, what claimants wanted to do.

      16              They said they would like the sample, both

      17 smokestacks, the mix house inside and out including

      18 the roof, areas in the lead production line in the

      19 building, and then area -- those are the first three

      20 items.

      21              Items 4, 5 and 6 are item -- are on property

      22 that Philips controls and would not involve Corning.

      23              Item 7 mentions areas around the perimeter of

      24 the mix house and the lead production line.

      25              Item 8 mentions all -- any and all roof
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       1 drains.

       2              I -- I can provide the copy -- the court with

       3 a copy of that letter if necessary.

       4              THE COURT:      Is it referenced in your

       5 response?

       6              MR. PITT:      It's referred to, it's not

       7 attached because we didn't have time to --

       8              THE COURT:      That's fine.

       9              MR. PITT:      -- to get that in.

      10              THE COURT:      You are free to tender it if you

      11 choose, but I am not going to request it.

      12              MR. PITT:      Okay, so what we agreed to is that

      13 on Thursday, the -- the plaintiffs could send

      14 representatives to walk around the plant, look around

      15 in order to determine what sampling they needed to do

      16 on these items in Mr. Getty's letter.

      17              And we -- we had -- there -- Corning has --

      18 is a big company and has risk management and other

      19 liability and insurance requirements and that sort of

      20 thing, so -- and security issues, they needed to know

      21 who was going to be there, who they worked for and

      22 that sort of thing and what -- what they were going to

      23 do, and we were -- we exchanged some emails on that.

      24              And then yesterday at 1:30, the plaintiffs'

      25 representatives appeared there.
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       1              Everybody under normal protocol for Corning

       2 has to go through a safety training about thirty

       3 minutes long before they go in the building.

       4              They did that, Mr. Seay who was there did

       5 that.

       6              Everybody under company policy has to leave

       7 their cell phones and cameras at the -- at the guard

       8 shack.

       9              THE COURT:      Who has the authority to make an

      10 exception to that policy?

      11              MR. PITT:      Well, someone within the security

      12 department at Corning, and had we known, as I stated

      13 last night to Mr. Getty in another email that they

      14 were going to show up and want to take pictures, we --

      15 I don't know that we could have gotten it done by --

      16 by yesterday or today, but it can be done.

      17              And it will come to that shortly because we

      18 are willing to work with them I think on every --

      19 every issue that they have.

      20              Mr. Seay had to give his phone up yesterday

      21 as well, that's just protocol.

      22              There -- the other issue -- other thing that

      23 arose yesterday is that the plaintiffs indicated that

      24 they wanted to bring in scissor lifts and a crane

      25 maybe and other elevation devices in order to allow
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       1 their -- their representatives to get up into the

       2 higher areas of the -- of the building there, and they

       3 were told no, you can't do that because we have got

       4 liability problems and OSHA problems with -- with your

       5 bringing in that kind of equipment and, you know,

       6 we'll get back to you on that.

       7              And indeed we do, and we have come back to

       8 them as I got back with counsel last night and said,

       9 you know, if you will tell us what you are bringing in

      10 and if you will supply Corning with an insurance

      11 policy that would hold -- indemnify and hold harmless

      12 Corning from any accidents or injuries that might --

      13 your representatives, the samplers may have in the

      14 building there we can work that out.

      15              It may take two or three days, but we can

      16 work that out; and we are willing to do that.

      17              As of the week -- the day before

      18 Thanksgiving, fortuitously because of the Thanksgiving

      19 holiday weekend there, no work of any material nature

      20 was done.

      21              When everybody circled back on Monday after

      22 Thanksgiving and in-house people at Corning were fully

      23 engaged with the lawsuit being filed and we had

      24 conference calls and that sort of thing as you might

      25 imagine, we made the decision that, well, let's
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       1 cooperate with the plaintiffs, let's voluntarily stop

       2 this work.

       3              It's going to cost us but, you know, we can

       4 live with that for a few days if we can get this

       5 behind us and everybody get along and so --

       6              THE COURT:      And when did the work stop?

       7              MR. PITT:      The work -- the two chimneys had

       8 already come down substantially.

       9              There may be 4 or 5 feet of each one of them

      10 still there at the base, but all the brick are there

      11 in the -- either in containers or in piles.

      12              That hasn't been moved.           It needs to be moved

      13 so that our folks can get to the next stage.

      14              But you know, we can live with two or three

      15 days or even a week maybe before that has to happen

      16 because that mix house needs to come down.

      17              We -- so anyway, that -- we told them, get us

      18 -- tell us what you want to bring in there

      19 machinerywise and give us an insurance policy,

      20 something to protect us, and we'll get that worked

      21 out.

      22              Last night, I got a telephone call from

      23 Mr. Getty and which we -- Mr. Getty and I have known

      24 each other for thirty or more years, worked on several

      25 things, and I consider him a friend and we can talk
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       1 candidly with each other.

       2              And we did, and he told me that he was going

       3 to file this amended temporary restraining order.

       4              And I told him, well, I am getting ready to

       5 send you an email telling you how we can get all this

       6 resolved, I think.

       7              But you know, he said, well, I'll go ahead

       8 and file it and maybe we can get it resolved.

       9              So a little later on after I got some dates

      10 straightened out with the client about when they

      11 absolutely had to have any sampling finished by, then

      12 I sent the email.

      13              Mr. Getty and I then talked again at 11:20

      14 last night, and in that conversation, I -- Mr. Getty

      15 said we are not going to have the folks -- the

      16 schedule had been for them to be there to do the

      17 actual sampling of the brick and inside the building

      18 at 8:00 this morning.

      19              We were told that they would not be there at

      20 8:00 this morning and that they would not be there

      21 until after the court held a hearing on -- because of

      22 the camera issue, they wanted to take photographs and

      23 videos.

      24              And we submit, Your Honor, that -- and I

      25 think that Mr. Getty would concede this, that a
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       1 primary reason for the taking of videos and

       2 photographs in the plant is not for this case, it's

       3 for the Elbert Cox case which is the employee case

       4 that only Philips is a party in.

       5              But even then, we understand that they may

       6 want to take those photographs and they may want to

       7 take them before any further washing, changing in the

       8 building is done, and we are willing to forebear on

       9 that and we are willing to stop our washing.

      10              Now, you know, concededly before this lawsuit

      11 was filed there had been a substantial cleaning effort

      12 going on in that building, so we can't represent that

      13 before the lawsuit was filed that walls weren't

      14 washed, floor wasn't washed and that sort of thing.

      15              THE COURT:      Sure.

      16              MR. PITT:      So that's -- that's where we are.

      17 I was -- I then at 11:30 called my -- and awakened my

      18 -- the in-house counsel at Corning which I am not sure

      19 augurs well for my continuing to represent them in

      20 this case.

      21              But in any event told her the circumstances

      22 and that we have -- we had -- Corning had two

      23 environmental consultants from Weston Environmental in

      24 New York down here just for the plaintiffs' testing,

      25 and they had their -- they had Corning's environmental
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       1 -- the head of their environmental department flew

       2 in.

       3              And it was going -- it was Thursday night,

       4 Mr. Getty said nobody's going to be there until after

       5 we have a hearing.

       6              We weren't even sure we were going to have a

       7 hearing.      We knew the weather was going to be bad.

       8              So we decided to send those folks back home,

       9 and all the workers who have been working there for a

      10 contractor named Bierlein were also sent home.

      11              Some of those work -- live away from here,

      12 some of them live in the central Kentucky area.

      13              THE COURT:      Sure.

      14              MR. PITT:      So we did not expect anything to

      15 be done at the plant today.

      16              THE COURT:      Today.

      17              MR. PITT:      Today.    But we are willing and

      18 everybody, you know, our environmental people have

      19 gone back to New York.

      20              THE COURT:      Sure.

      21              MR. PITT:      But we are willing Monday,

      22 Tuesday, Wednesday, whenever they want to come in,

      23 give us a plan, tell us what you want to do, bring in

      24 your cameras and what have you.

      25              But you know, we want, and I think they are
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       1 agreeable to, a confidentiality order that we could

       2 present to the court for the court's consideration

       3 that would render any photographs and videos taken

       4 confidential for the purposes of their sampling and

       5 perhaps later on could be used, if necessary, in one

       6 or both of the two cases.

       7              But Corning is -- in renovating this plant

       8 over there is concerned about competitors and that

       9 sort of thing.

      10              That -- we don't -- Corning does not want

      11 pictures of the inside of that plant appearing on the

      12 front page of The Advocate over in Danville or the

      13 Herald-Leader or the Courier Journal because that's

      14 not necessary and that's why we would like to have a

      15 confidentiality agreement.

      16              They claim they need the photographs for each

      17 sample that is taken.

      18              I am no expert in sampling, but I have --

      19 going back into 1985, I have represented, been

      20 involved in several big PCB class actions in multi-

      21 plaintiff suits and Rubbertown suits in Louisville in

      22 front of Judge Heyburn and worked with many sampling

      23 companies, environmental companies and we have

      24 contacted some even since this has arisen last night.

      25              Nobody does that.        Nobody takes photographs
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       1 of their samples.

       2              THE COURT:      What's the prejudice to you of

       3 the photographs --

       4              MR. PITT:      Nothing, Your Honor, I don't think

       5 there is any prejudice, but this goes to the necessity

       6 of it.

       7              But if that -- but we do think we would

       8 like -- and they are going to split -- I think they

       9 have agreed to split photographs with us, whatever

      10 they photograph we can have a copy of.

      11              We have agreed that whatever they sample they

      12 will split with us and Philips whenever that happens

      13 within the plant.

      14              THE COURT:      Let me see if I can summarize

      15 kind of what you are willing to do going forward over

      16 the next several days.

      17              They asked for the ability to take photos and

      18 video footage, and you said given the reasonable

      19 request for protective order that would protect the

      20 confidentiality of that information, you all would

      21 certainly allow that to occur.

      22              MR. PITT:      Yes.

      23              THE COURT:      They have asked for cell phones

      24 to be present despite -- I have a policy, none of you

      25 have your cell phones, but I waive that all the time
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       1 for good cause.

       2              They want to have cell phones brought in so

       3 that if they find a circumstance and need to make a

       4 call to a consultant perhaps who is not physically

       5 present they can do it in realtime.

       6              MR. PITT:      Correct.

       7              THE COURT:      Would you allow that?

       8              MR. PITT:      Your Honor, we -- it's against

       9 corporate policy, and it's no further than Your Honor

      10 to halfway to the end of the courtroom there for them

      11 to walk out to the guard shack and get their cell

      12 phone if they need it.

      13              We would prefer to continue doing it that way

      14 because cell phones have -- in this day and time have

      15 cameras on them, and it's just -- it's corporate

      16 policy.

      17              I don't think it would be the end of the

      18 world if they took one cell phone in there.

      19              But I also don't think it would be the end of

      20 the world for them to have to walk 50 feet to use

      21 their cell phone so --

      22              THE COURT:      And then the final request that

      23 they have in this context relates to access to certain

      24 areas.

      25              There is a suggestion that -- that they are
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       1 not being allowed access to everywhere including the

       2 worst case areas in terms of being able to collect

       3 samples and take photographs and video.

       4              MR. PITT:      I neglected to address that, Your

       5 Honor, if I could.

       6              THE COURT:      Please.

       7              MR. PITT:      I think they are primarily

       8 complaining about two areas, one is the mix house and

       9 the other is a --

      10              THE COURT:      Furnace.

      11              MR. PITT:      -- a furnace.       Now, the lead

      12 furnace is a confined area.             It's a furnace.        It's

      13 dangerous to get into that furnace.

      14              They asked to get in -- there are OSHA issues

      15 with getting in a furnace like that.

      16              We told them yesterday that we -- we just

      17 could not let them in there because of liability

      18 purposes, but if we can get the -- the proper

      19 insurance coverage and that sort of thing, I think

      20 that would be -- that could be worked out as well.

      21              And as far as the mix house, and I think

      22 there is -- I get a different story from Mr. Seay and

      23 others on the scene yesterday, I believe that they

      24 were allowed to go in the mix house.

      25              There was one entrance to another part that
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       1 the Corning people prohibited them from going into

       2 because it had a big red danger sign on it.

       3              They were told when they came back today they

       4 would -- Corning would be able to open another

       5 entrance that would let them go into that mix house,

       6 so there is no problem in them getting into the mix

       7 house.

       8              They couldn't get in it yesterday, but when

       9 they come back they can.

      10              THE COURT:      There are circumstances in which

      11 you would allow access to both of those instances.

      12              MR. PITT:      Correct.

      13              THE COURT:      All right, I want to hear from

      14 Mr. Owen because I think you your client may have some

      15 different equities and interests here, and this would

      16 give you the opportunity to respond to the request.

      17              And I guess I would begin with the general

      18 question which is would your client be amenable to the

      19 same kind of access and kind of the same spirit of

      20 cooperation that the Corning defense is articulating?

      21              MR. OWEN:      Well, I think we are in a

      22 completely different position.              We have already worked

      23 out an arrangement.

      24              I think there are no issues, there is not an

      25 injunction pending against us.
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       1              THE COURT:      Right.

       2              MR. OWEN:      I don't think there are any issues

       3 that are outstanding based on the email exchanges I

       4 have observed.

       5              MR. GETTY:      They have cooperated

       6 tremendously.        We have everything arranged with

       7 Philips.

       8              We understand what's to be done and how it's

       9 to be done, who is going to be there.

      10              In fact, they are walking the perimeter with

      11 the Philips property today, one of his representatives

      12 along with our experts.

      13              THE COURT:      The Philips property seems to

      14 pose far fewer complications than the Corning property

      15 does in terms of this.

      16              I don't know if that -- I am just starting to

      17 learn about the details of this, but --

      18              MR. OWEN:      It's a very complicated property

      19 in all respects, Your Honor.

      20              THE COURT:      It seems.

      21              MR. OWEN:      The short answer is I don't think

      22 there are any issues.

      23              I came today because we are a party.               I came

      24 today to monitor -- I don't think there is anything

      25 outstanding.
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       1              THE COURT:      I think the one thing I would

       2 want you to think about, and it doesn't sound like

       3 this is an issue, is the representation that the

       4 photos and videos really are about the lawsuit

       5 involving your property.            I may have misunderstood

       6 that.

       7              MR. OWEN:      I understood that's what Mr. Pitt

       8 said.

       9              I wasn't sure if he was saying that the

      10 agreement with Mr. Getty, counsel, was that we would

      11 get a copy of the photos and the video.

      12              If it was intended to exclude those from us,

      13 we want them.

      14              THE COURT:      Mr. Getty's a generous man, I

      15 know he would provide them.

      16              MR. GETTY:      From the very outset we proposed

      17 and we thought everyone was in agreement -- I know

      18 Philips was -- any samples we take are going to be

      19 split three ways, Philips gets them, Corning gets

      20 them, any photographs or video that's taken, everybody

      21 gets them.

      22              Even if someone were to take a -- our experts

      23 have an understanding that whatever photograph,

      24 whatever video under any means, by any means, cell

      25 phone, camera, whatever, it gets turned over to us and
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       1 to both sides' lawyers.

       2              THE COURT:      Okay, that's pretty clear,

       3 Mr. Owen.

       4              MR. OWEN:      It needs to be clear, Judge,

       5 because there are really two points in the sampling.

       6 The photographs are obviously simple.

       7              But when you split samples everybody gets the

       8 dirt or the substance and there is a sample and there

       9 is a result of that sample and I understand then that

      10 everything's going to be exchanged, we will all get a

      11 sample and we'll all exchange the results of those

      12 samples.      Is that the understanding?

      13              MR. GETTY:      That's my understanding, and I

      14 think David probably is aware of this.

      15              Our experts apparently talked to someone from

      16 Philips, I think it's Brian Johnson and my colleague,

      17 Jessica Winters, they have a lot of communication,

      18 they are the two people who have been dealing with the

      19 Philips matters primarily.

      20              But Philips is going to do some remediation,

      21 soil remediation.

      22              They are going to remove I think it's either

      23 two or three feet.

      24              We are going to drill down beyond two or

      25 three feet, so we will -- we will drill both through
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       1 the first couple that they are going to remove but

       2 down below, and they are going to get samples and

       3 Corning will get samples of everything that we drill.

       4              THE COURT:      Okay, anything else on behalf of

       5 your clients?

       6              MR. OWEN:      Nothing else, Judge, I just wanted

       7 to make sure I understood what the agreement was.

       8              THE COURT:      Yes, good.      Mr. Pitt?

       9              MR. PITT:      Your Honor, may I make a couple

      10 other remarks before I have to yield the floor?

      11              THE COURT:      Please, and you won't have to

      12 yield it permanently.

      13              MR. PITT:      Thank you, Your Honor.          I would

      14 point out that Brian Johnson from Mr. Owen's firm was

      15 at the hearing on Wednesday morning, and he and one of

      16 the Philips environmental consultants from ARCADIS,

      17 Mr. Gillespie, were at the plant, at the facility

      18 yesterday and were involved in the walk-around that

      19 occurred.

      20              And it's not my understanding at this point

      21 that we -- at least Corning has agreed to provide

      22 results of the sampling.

      23              I assume we would -- we might have to do that

      24 under discovery anyway, so that very well might

      25 happen.
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       1              But that has not been expressly discussed

       2 with my in-house counsel, so I can't commit to that

       3 now.

       4              But we have agreed to split the samples and I

       5 think to send them to three different labs.

       6              We don't want them all going to the same

       7 place, and I think we have agreed to disclose what

       8 labs the other is going to use and it will be sent to

       9 three different places.

      10              THE COURT:      We are really here under the

      11 notion that discovery of matters in the nature of

      12 discovery need to go ahead and take place now because

      13 of the renovation work and remedial work that's taken

      14 place on the property, and so it's kind of preserving

      15 the status quo where it is now for these matters to be

      16 litigated at some point in the future.

      17              And I would -- I would agree, I am not going

      18 to allow us to kind of get pulled into full scale

      19 discovery here.

      20              If there is a few discrete things that need

      21 to be done now in terms of gathering samples or taking

      22 some photographs or the way things that are configured

      23 that are about to be changed, I think that's

      24 appropriate.

      25              I think the defense for the defendants is
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       1 working well to try to accommodate those requests

       2 within, you know, some -- some fair restrictions, but

       3 I am not going to require the parties to agree to

       4 exchange.

       5              We could litigate that if we need to in the

       6 context of discovery.

       7              MR. PITT:      Thank you, Your Honor.          I did want

       8 to make clear that, as we have to Mr. Getty, both last

       9 night and -- and this morning before the hearing

      10 started, that as -- a show of our willingness in

      11 further accommodation and also not to do anything that

      12 would thwart their efforts or cause any concern for

      13 them that evidence of some sort may be destroyed, we

      14 have sent the workers home, the Bierlein workers and

      15 others.

      16              I have a commitment to me from my client and

      17 I think I can make the commitment to the court that

      18 there will be no changes in the facility out there

      19 until Monday or Tuesday or Wednesday or whenever the

      20 plaintiffs can get their folks in there.

      21              We don't want to deprive them of any ability

      22 to sample whatever is there now.

      23              THE COURT:      Okay.

      24              MR. PITT:      We would only get ourselves in

      25 trouble if we do that, and we don't want to get in
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       1 trouble so we are willing to do that and we can make

       2 that commitment.

       3              There is no need for them to bring everybody

       4 out there, make everybody go out there at 4:00 this

       5 afternoon and start this and go into Saturday on this

       6 weekend with this weather like it is.

       7              This could be, we think, worked out at a more

       8 reasonable pace next week.

       9              So that would be I think, Your Honor, the

      10 additional comments I would make.               Thank you, Your

      11 Honor.

      12              THE COURT:      Thank you, Mr. Pitt.

      13              Well, Mr. Getty, this -- it appears that in

      14 the coming days there will be the opportunity to

      15 achieve the relief you are seeking from the court.

      16              I guess the question is what else do you need

      17 from me?      What do you have -- what relief are you

      18 asking for the court?

      19              This is not a preliminary injunction context,

      20 this is not a temporary restraining order context, you

      21 have got representations by members of the Bar and

      22 counsel who understand the common law duty to preserve

      23 evidence who are making very reasonable requests for

      24 accommodation and really have addressed every one of

      25 your specific requests and are willing to meet those
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       1 specific --

       2              MR. GETTY:      Well, they haven't really --

       3              THE COURT:      Hold on, and they are willing to

       4 meet those specific requests.

       5              You can say they haven't done that yet, but

       6 there is some process that has to unfold here.

       7              They have represented that they will work

       8 with you as representatives of potential plaintiffs in

       9 this case, the plaintiff and potential class in this

      10 case to accomplish what seems to be a reasonable thing

      11 to accomplish and actually in the interest of all

      12 parties.      What else do you need from me?

      13              MR. GETTY:      Well, it's --

      14              THE COURT:      It's Friday afternoon, let's go

      15 home.

      16              MR. GETTY:      I'll try and be very brief.            What

      17 this really is about as described by the court is

      18 accurate.

      19              It's really not a TRO, it's about a

      20 preservation of evidence and access to the facility.

      21              We still have some issues about access and a

      22 few other things that -- that probably -- is that

      23 echoing?

      24              THE COURT:      Not here.

      25              MR. GETTY:      Okay, it sounded like it was.
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       1 That probably need to be addressed.

       2              And we have some concerns, I mean, first of

       3 all, I don't think we have any problems at this point

       4 or concerns with Philips.

       5              I think they have worked very diligently with

       6 us and I think we have worked out very smoothly all

       7 the details.       Mr. Pitt --

       8              THE COURT:      Is the Philips property simply

       9 land or is it --

      10              MR. GETTY:      I think there are some structures

      11 on it outside --

      12              THE COURT:      But are the structures at issue?

      13 You are really focused on land.

      14              MR. GETTY:      They will be.       There will be.        I

      15 believe there are some outlying buildings --

      16              THE COURT:      But right now it's just about the

      17 land.

      18              MR. GETTY:      Yes, essentially.

      19              THE COURT:      It could be about other things in

      20 the future.

      21              MR. GETTY:      Right.

      22              THE COURT:      So that's far less complicated

      23 than the issues you have with Corning.

      24              MR. GETTY:      It is, and we still have a

      25 question of access.
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       1              Our experts and we have engineering and

       2 environmental experts, we have industrial hygiene

       3 experts, we have a whole raft of experts, laboratory

       4 people.

       5              We agreed at the outset we would do all split

       6 samples.

       7              From the standpoint of any core drills or

       8 samples that we take, I would have no problem with

       9 everybody, you know, that you sent it to your labs or

      10 your third parties, everybody provides all the

      11 information to everybody else.

      12              It sounds to me like Corning is maybe not

      13 going to be in agreement with that, and that may be an

      14 issue that you will have to address down the line; but

      15 I would have no problem with that.

      16              We do have a problem in that after the

      17 Thanksgiving holiday, we had understood no one was

      18 going to be in the building.             It's a holiday.

      19              I actually had to be in Europe in Italy in

      20 our office there for business over the Thanksgiving

      21 weekend, but others in my office were monitoring this

      22 site.

      23              And what was a concern to us was over the

      24 weekend the lights were on, there was a vacuum truck

      25 there --
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       1              THE COURT:      The owners of the property turned

       2 the lights on over the weekend?

       3              MR. GETTY:      No, they had a truck there and

       4 they had workers there over the weekend with some sort

       5 of vacuum truck.

       6              I don't know whether they were power washing

       7 or what they were doing, we have asked for an

       8 explanation of it.          We have never gotten it.

       9              So you know, maybe there is a little bit of

      10 undue paranoia on our part, but it's there.

      11              I had talked to Steve yesterday, Steve and I

      12 have always in other cases --

      13              THE COURT:      It's helpful for the record,

      14 counsel, if you will refer to your counsel, other

      15 counsel in the case by their last name.

      16              MR. GETTY:      Mr. Pitt.

      17              THE COURT:      Yeah, thank you.

      18              MR. GETTY:      We are long good friends, that's

      19 why I refer to him as Steve.

      20              THE COURT:      Good.

      21              MR. GETTY:      We have always been able to work

      22 together, Mr. Pitt and I, and we accomplished a lot I

      23 think in our conversations prior to yesterday and last

      24 evening.

      25              I had thought and made it pretty clear that
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       1 our people were going to be there and that we wanted

       2 access to the facility to see it today.

       3              Our concern is -- and this is probably partly

       4 because the vacuum truck having been there over the

       5 holiday, I wanted my experts to simply be able to walk

       6 through it this afternoon -- and they are down there

       7 now with the Philips people doing other things -- to

       8 simply make sure that the condition of the building,

       9 the facility inside, on Monday, when they go back to

      10 start sampling, was identical to what it was today.

      11              THE COURT:      Well, but this work has been

      12 ongoing since October 1st as I understand it, I mean,

      13 this has been an ongoing process and so it's hard to

      14 see the prejudice that comes with continued work over

      15 a 24-hour period.

      16              MR. GETTY:      Well, the mix house, other parts

      17 of the facility, this is the other issue, I -- we

      18 believe our experts should have full and complete

      19 access to the facility.

      20              You know, for example on the sampling, they

      21 have said, well, you tell us where you want to

      22 sample.

      23              We talked to our experts this morning, Miss

      24 Winters and I, and they said we can tell you

      25 generally, but we have to have access to wherever we
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       1 want to sample.

       2              We'll -- we'll document where we want to

       3 sample, and they tell me they have to have a

       4 photographic, under their protocol they have to have a

       5 photograph of where they did and they have to mark it.

       6              THE COURT:      Are you willing to agree to some

       7 kind of protective order for confidentiality?

       8              MR. GETTY:      Sure.

       9              THE COURT:      That's Mr. Pitt's request, and

      10 that needs to be worked out, so you are going to get

      11 that.

      12              MR. GETTY:      I told Mr. Pitt last night to

      13 draft it, get it to me this morning and I would sign

      14 it.

      15              Or we can draft it, if it means we do it, it

      16 gets done more rapidly, we will do it.

      17              But here's what the experts say.              My expert

      18 says I have got to be able to get up there, you know,

      19 they have already washed certain portions of this

      20 facility.      But even if the areas where they have

      21 washed --

      22              THE COURT:      Fair enough, fair enough.            Are

      23 you willing to address the liability issues if

      24 somebody gets hurt on a lift and falls and that kind

      25 of thing?
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       1              MR. GETTY:      Sure, I told them I would give

       2 them a release.

       3              THE COURT:      So they are willing to let you

       4 get up there, check.          Is that right, Mr. Pitt?

       5              MR. PITT:      Yes, Your Honor, a release won't

       6 do it, though, because I don't think Mr. Getty can

       7 release a claim that an environmental worker that

       8 works for a consulting firm might have.

       9              I think we need an insurance policy that

      10 covers liability for the duration of this --

      11              THE COURT:      Are you willing to do that?

      12              MR. GETTY:      I am sure they are all covered by

      13 Workman's Compensation, I am sure any expert that will

      14 go there will sign a release for Corning saying they

      15 won't hold them responsible if they get hurt doing

      16 their expert work.

      17              We told them that days ago, that's always

      18 been our position, I don't know what other insurance

      19 policy, I mean, we are certainly not going to have to

      20 go out and buy another insurance policy to cover us if

      21 somebody gets hurt or have our experts --

      22              THE COURT:      You guys are friends and good

      23 lawyers, I am sure you can work out the details of

      24 that.

      25              MR. GETTY:      Okay.
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       1              THE COURT:      It needs to be worked out, if

       2 they are going to allow access to higher up --

       3              MR. GETTY:      Anywhere.

       4              THE COURT:      I just want to make sure,

       5 Mr. Pitt, I am not trying to mischaracterize where the

       6 defense is on this.

       7              MR. PITT:      Yeah, ladders, any elevation

       8 equipment is used for other than people standing on

       9 the floor, and I think even if they are standing on

      10 the floor and get hurt they can sue Corning

      11 potentially.

      12              The -- Corning's -- any Workers' Comp.

      13 coverage that Corning has is not going to cover

      14 employees of a consulting firm.

      15              THE COURT:      That's a fair request.          That can

      16 be resolved.

      17              Corning needs to understand there is a way to

      18 resolve that.

      19              The plaintiff needs to understand it's a fair

      20 request and needs to accommodate that request in a way

      21 that's legally protective for Corning, but that's --

      22 that's not an impasse, that can be resolved.

      23              MR. GETTY:      And I hope you understand,

      24 Your Honor, what my expert's telling me is there may

      25 be areas where there were very hazardous substances
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       1 they have already power washed or cleaned them.

       2              THE COURT:      Well --

       3              MR. GETTY:      But they want access to the high

       4 areas, they want to be able to look at them, they want

       5 to be able to use a lift or a ladder, there may be a

       6 nook or a cranny where we can still get a good sample.

       7              THE COURT:      Okay, so there is a path towards

       8 allowing that to occur.

       9              MR. GETTY:      Right, and we wanted a simple

      10 walk-through today so that they could simply observe

      11 the condition of the facility.

      12              I thought I had made it pretty clear to Steve

      13 that we would have people there in the afternoon, and

      14 we were hopeful that we would get a hearing either

      15 late this morning or early afternoon but that they

      16 would be there.

      17              I don't know if they sent these people all

      18 back I guess because of the weather.

      19              THE COURT:      I think that's fair.          I have got

      20 requests to close courthouses at this point, and it's

      21 really a moot issue given the representation of

      22 Corning that the work is not going to continue into

      23 next week.

      24              MR. GETTY:      As long as --

      25              THE COURT:      Even until Wednesday of next
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       1 week, there is no representation beyond that as I

       2 understood what Mr. Pitt said, the work's going to

       3 stop, allow some time to work out the details of this

       4 and allow you to have not unfettered access, this is

       5 property that they own.

       6              They are the owners of this property.                They

       7 have a responsibility given the litigation to allow

       8 you access, and they have given you access under what

       9 seem to be reasonable -- reasonable conditions.

      10              MR. GETTY:      Well, when I say unfettered I am

      11 not saying -- I mean, if my expert says I need to go

      12 up there in that corner and I want to sample it, I

      13 need to look at it first, he needs to be able to do

      14 that.

      15              I don't want to be in a position where we are

      16 quibbling later on.

      17              I would like the court to enter an order that

      18 says we have reasonable and complete access to the

      19 facility so that, you know, full sampling can take

      20 place.

      21              THE COURT:      Let me -- let me just see if

      22 Mr. Pitt has any objection -- I am not going to -- I

      23 don't know that I need to enter an order, but I think

      24 the scenario that Mr. Getty's fairly bringing to

      25 everybody's attention is a scenario in which they have
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       1 identified this particular area for testing, the

       2 expert says you know what, I really need to get up

       3 there, the issues with regard to liability have all

       4 been addressed, and Corning -- the concern is that

       5 Corning would say, well, no, you can't get up there

       6 because you didn't preidentify it.

       7              MR. GETTY:      Right.

       8              THE COURT:      You have just now discovered

       9 that's a spot you need to go.

      10              MR. GETTY:      That's exactly right, Your Honor.

      11              THE COURT:      So if that seems reasonable and

      12 you are willing to operate that way, then we can just

      13 simply state that on this record and I think that is

      14 how we will unfold.

      15              If you have concerns about that though I want

      16 to give you the chance, Mr. Pitt, right now --

      17              MR. PITT:      I would not anticipate once we

      18 have a full sampling plan and know where they want to

      19 go, I would not anticipate any Corning representative

      20 telling them they can't climb a ladder and take a

      21 sample from the elevated place as long as we have some

      22 sort of insurance of liability protection.                  We cannot

      23 waive OSHA claims.

      24              THE COURT:      That's fine, and you have -- I

      25 agree with you on that, I think you deserve to have
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       1 that worked out.

       2              I think -- I think this is a little bit of a

       3 different scenario, this is -- here's our plan, but in

       4 the midst of the sampling, in the testing, the expert

       5 says, well, we talked about this location.

       6              But I really need to go to a different

       7 location now that I have seen it and I would like to

       8 have a sample there, I don't -- I would hope that

       9 Corning would not take kind of a legalistic approach

      10 and say sorry, it wasn't on your list.

      11              Yes, we have addressed the liability issues

      12 and we are not worried about that, but gotch you, you

      13 didn't list that so you can't take the sample.

      14              MR. PITT:      Your Honor, I would not anticipate

      15 that happening.

      16              If we had -- I am just picking a number out

      17 of the air -- 25 places, 50 places where they wanted

      18 to sample and they came in after getting there, they

      19 say they need 10 more, I wouldn't anticipate we would

      20 raise any objection to that.

      21              THE COURT:      Okay.

      22              MR. PITT:      If it's going to blossom into 200

      23 or something like that, that would be different.

      24              THE COURT:      I think that would be different.

      25              MR. PITT:      In terms of getting in this
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       1 afternoon, that's what yesterday was for.                  They had

       2 their folks in there yesterday walking around.

       3              THE COURT:      That's a moot point.          I

       4 understand you are frustrated by that, Mr. Getty, you

       5 now have the time early in the week that seems to me

       6 it was very reasonable to accomplish what I think is a

       7 fair request.

       8              MR. GETTY:      Their assurance that nothing is

       9 going to happen today is fine with me.                 I mean, I am

      10 okay with that, Your Honor.

      11              THE COURT:      Okay.

      12              MR. GETTY:      What my experts, so the court and

      13 Corning and everyone understands, what my expert says

      14 is, you know, we'll have a sampling plan and that will

      15 tell them generally where we are going to do and

      16 generally what we are going to do.

      17              But I can't predetermine exactly where I am

      18 going to do it.

      19              I may want to go over here a little bit more

      20 and do it in a -- really a different area but, you

      21 know, that's adjacent to or close to where I expected

      22 to do it initially, and I just want the flexibility

      23 there understood that we are not going to be

      24 ritualistic and legalistic to use your phrase where we

      25 are told, no, you can't go over there or no, you can't
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       1 get up there or you can't use certain equipment or

       2 whatever.

       3              I mean, we will provide the insurance, and in

       4 terms of the furnace and the mix house, I am sure

       5 these experts are schooled enough they will know if

       6 they need protective equipment, they will have it.

       7              THE COURT:      And I think Corning has fairly

       8 articulated conditions that allow access to that and

       9 more importantly has now conceded enough time, a

      10 reasonable amount of time given the cost that they

      11 incur with delay as reported in the pleadings as well.

      12              MR. GETTY:      Right.     Workers routinely went

      13 into this furnace for maintenance all the time so it

      14 shouldn't be a problem.

      15              THE COURT:      I think that really focuses on

      16 what I would think would be the plaintiffs' biggest

      17 concern is how it relates to access.

      18              Its second concern which relates to being

      19 able to take photographs and video in the context

      20 again of a confidentiality agreement or protective

      21 order can be addressed.

      22              It's okay to walk a little bit to make a

      23 phone call with a cell phone and respect the corporate

      24 policies as it relates to cell phones.

      25              And so I mean, I don't know, do you want to
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       1 respond to that, if you feel like that's just highly

       2 prejudicial to you --

       3              MR. GETTY:      What I want, I mean, here's the

       4 way -- and I am just a lawyer.              I have to rely on what

       5 the experts say, and that's why I hired them.

       6              But what my expert tells us is, Richard, if I

       7 am looking at something and I want to talk to somebody

       8 in the lab or somebody in the back office I need to be

       9 talking to them looking at it because he may say,

      10 well, what about this and I can respond then, I don't

      11 need to be walking back and forth, I need to be able

      12 to talk to them right then realtime on site; and I

      13 don't think there is going to be a lot of instances of

      14 that.

      15              THE COURT:      I think if that were to occur

      16 Mr. Pitt said, well, one cell phone, you know, is --

      17 they have access to a cell phone on an as-needed

      18 basis, that may not be a problem.               Is that a fair

      19 characterization?

      20              MR. PITT:      I think that's fair, Your Honor.

      21 If that comes up, and I wouldn't anticipate it, but if

      22 it does, we can make sure they can take the cell phone

      23 in, make the call, take it back out where it was and

      24 that shouldn't take five minutes.

      25              THE COURT:      Okay, I think, Mr. Getty, we have
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       1 addressed your requests.

       2              I am going to kind of from a procedural

       3 standpoint deny the ex parte motion for a TRO and for

       4 a preliminary injunction which was filed at record no.

       5 2 and is in essence still pending on the docket as

       6 moot.

       7              I am going to further deny plaintiffs'

       8 amended and renewed emergency motion for a temporary

       9 restraining order and preliminary injunction directing

      10 the preservation of evidence filed at record no. 18

      11 also as moot since there is a concession that this is

      12 not a -- a context really that is amenable to

      13 resolution by a temporary restraining order or

      14 preliminary injunction.

      15              I am going to consider an oral motion for a

      16 protective order to have been made unless you would

      17 object to that, Mr. Getty.

      18              MR. GETTY:      No, certainly not.

      19              THE COURT:      Consistent with the rule --

      20              MR. GETTY:      I will confirm the making of it

      21 now.

      22              THE COURT:      -- with Rule 26(c) and we'll --

      23 we'll consider the defense having responded to that,

      24 and I am going to hold that in abeyance, I am not

      25 going to rule on that either way, in essence will be
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       1 pending in front of me; and we can return to it if

       2 necessary.

       3              But once these matters have been addressed,

       4 then it will be denied as moot as well since it

       5 appears to me the defense has very reasonably asked

       6 for some protections, some concessions in order for an

       7 orderly procedure as it relates to this gathering of

       8 samples and preserving the evidence in this particular

       9 case and then we can go from there and, with any luck,

      10 this will unfold in an orderly fashion and I won't see

      11 any of you for awhile.

      12              MR. GETTY:      Your Honor, technically under the

      13 rules, would that be not only an oral motion for

      14 protective order but also a motion to compel on our

      15 part?     Compel certain discovery I guess.

      16              THE COURT:      It could be, I need to look at

      17 the scheduling order in this case.

      18              My practice is to defer discovery matters to

      19 the magistrate judge, and I am really -- have a strong

      20 incentive to do that as soon as I possibly can in this

      21 case.

      22              So you certainly can make that motion as part

      23 of the record as well and we'll take that under

      24 advisement.

      25              MR. GETTY:      Do you know who -- since we are a
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       1 Lexington case --

       2              THE COURT:      Judge Wier would be the

       3 magistrate judge in this case.

       4              Mr. Owen.

       5              MR. OWEN:      Yes, Your Honor, this may already

       6 have been addressed and I have not been a party to the

       7 conversations, but would we receive notice to be

       8 present for the sampling?

       9              THE COURT:      Sure.

      10              MR. GETTY:      Sure, I understood that would be

      11 the case.

      12              MR. PITT:      We had agreed, they were present

      13 yesterday, it was contemplated they would have

      14 representatives today, split samples and that.

      15              From the Corning standpoint at least that

      16 would be applicable.          One other thing, Your Honor, if

      17 I might.

      18              THE COURT:      Please.

      19              MR. PITT:      We talked about a confidentiality

      20 agreement on the photographs and that sort of thing,

      21 and assuming we get the language agreed to and

      22 submitted to Your Honor, is that something that would

      23 routinely come before Your Honor that Your Honor would

      24 know about or would -- would -- would the court give

      25 us leave to let the court know that it's there and
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       1 that it might be helpful for the court to consider it

       2 before the folks go on the site?

       3              THE COURT:      Well, I don't think there is

       4 necessarily any requirement that I approve it if the

       5 parties are comfortable with it.

       6              If you are asking for my approval of it, I

       7 mean, I am pleased to hear from either side on that.

       8              MR. GETTY:      I would contemplate that we would

       9 do a protective -- a confidentiality and protective

      10 order, we would agree to the terms and then we would

      11 submit it to you ultimately for signature.

      12              THE COURT:      Or an order as opposed to an

      13 agreement, then yes, you would need to tender it to

      14 me.

      15              MR. GETTY:      I always understood we would do

      16 an order of some sort.

      17              MR. PITT:      Under these circumstances would

      18 the court give us leave to let chambers know when it's

      19 submitted?       I know the court's --

      20              THE COURT:      Yes.

      21              MR. PITT:      -- got many other cases besides

      22 this one and it might not come up.

      23              THE COURT:      I am trying to be sensitive with

      24 regard to the time concerns in this particular case.

      25              What I would do is just simply file it in the
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       1 record once it is an agreed order, and then we will be

       2 able even over the weekend to monitor that and

       3 certainly turn to it first thing on Monday morning.

       4              If it comes to me as an agreed order, I'll

       5 enter it promptly and then it will be part of the

       6 record and it would be appropriately part of the

       7 record I think given kind of a pending motion for an

       8 overall protective order or compelled under 26(c).

       9              MR. GETTY:      I think what we have outlined

      10 today either through the court or discussions we have

      11 had is pretty much what it's going to say.

      12              THE COURT:      Well, you all work it out, reach

      13 an agreement and then as long as it's agreed and there

      14 are no surprises, then I'll review it and enter it

      15 promptly so you can proceed promptly.

      16              Mr. Getty, are there any other matters that I

      17 can address to help keep this moving forward?

      18              MR. GETTY:      I don't think so, and my much

      19 smarter, better-looking colleague has just nodded her

      20 head no, so --

      21              THE COURT:      Thank you, Mr. Getty.

      22              Mr. Pitt, anything on behalf of your client?

      23              MR. PITT:      Nothing further, Your Honor, thank

      24 you.

      25              THE COURT:      Mr. Owen?
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       1              MR. OWEN:      No, Your Honor.

       2              THE COURT:      All right, hope everyone has a

       3 good weekend.        We will stand adjourned.

       4              (The further hearing in this matter was

       5 concluded at 2:27 p.m.)

       6                                     - - -

       7                                CERTIFICATE

       8              I certify that the foregoing is a correct

       9 transcript from the record of proceedings in the

      10 above-entitled matter.

      11 s/ K. Ann Banta                             12-9-13
         K. Ann Banta, RPR, CRR                      Date
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